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NIKLESH PAREKH,

Plaintiff,

. cIVIL AchoN No. g
v. : o 1901 430 096/45(6

ch coRPoRATIoN d/b/a ch NEws, '
and BRIAN coNYBEARE,

Defendant(s).

coMPLAINT

Plaintiff, NIKLESH PAREKH, Pro Se, hereby sues CBS CORPORATION d/b/a
CBS NEWS (hereinaher “CBS News”) and BRIAN CONYBEARE (hereinaher
“Conybeare” , individually and official capacity; and, in support thereof, alleges as

follows:

l. JURISDICTION AND VENUE

 

1. 'Ihis is a civil action based upon Diversity Jurisdiction, authorizes by 28 U.S.
Code § 1332 because the parties are citizens of different states. This Court has
jurisdiction under 28 U.S.C. § 1331 and 1343(a)(3). Plaintiff seeks declaratory relief
pursuant to 28 U.S.C. 2201 and 2202. Plaintifi’s claims for injunctive relief are
authorized by 28 U.S.C. § 2283 and 2284 and Rule 65 of the Federal Rules of Civil

Procedure. This Court has supplemental jurisdiction over Plaintist state law claims

under 28 U.S.C. § 1967.

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2. The United States District Court for the Middle Distn'ct of Florida's Orlando
Division is and appropriate venue under 28 U.S.C. § l391(b)(2) because it is where the
events giving rise to this claim occurred.

II. PRELIMINARY STATEMENT

3. This case is about repeated acts of defamation and libel per se committed by the
CBS News/CBS Corporation and Brian Conybeare, and its reporters against a business
man who was the victim of a Cancer scam. Specii'ically, in an exclusive television news
article published in both the hardcopy and television reporting, along with online editions
of the CBS News on April 2, 2017. Defendants falsely, maliciously and with reckless
disregard for the truth stated that there was no such doctor, which is crucial evidence in
plaintiffs innocence, and even went to the extent of claiming that there is no such doctor
registered in the State of New York. Plaintiff gave this same information to the federal
authorities, to-wit: the Federal Bureau of Investigation, who contacted Mernorial Sloan
Kettering Cancer Center, met with this doctor at Sloan Kettering and interviewed her.

4. Defcndants also falsely, maliciously and with reckless disregard for the truth
stated as a fact that the Plaintiff suddenly moved to Florida because of suspicion within
the community about his involvement in the scam when defendant was provided facts
showing otherwise.

5. Defendant also posted Plaintiff’s pictures with the perpetrator and went to the
extent of photo-shopping pictures to falsely, on purpose, maliciously and with reckless
disregard for the truth and to give the public the wrong impression about Plaintiff. These

statements are false, have subjected the Plaintiff to humiliation, scom and ridicule

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throughout the world by falsely portraying him as a scam or as a man who lied for money
and this constitute defamation and libel per se.
III.PARTIES

6. Plaintiff, a male resident of Orlando Florida, previously living in Westchester,
New York, is a business man.

7. Defendant CBS News, publishes one of the largest and most influential television
new broadcasts in the country, along with television and intemet broadcasts, and it is read
and viewed each day by hundreds of thousands of people all over the world, including on
the World Wide Web.

8. Defendant Bn'an Conybeare is, and was at all relevant times herein, a reporter
with CBS News, who, upon information and belief, currently resides in the State of New
York.

9. CBS News and Conybeare are located at CBS Headquarters, 51 W. 52nd Street,
New York, NY 10019-6188, with a telephone number of 1-212-975-4321.

IV. FACTUAL ALLEGATIONS

lO. ln February of 2016, Mr. Nikhlesh Parekh, Plaintiff found out that the Vediutie
I-Ioobraj afk/a Shavonie Deokaran, the perpetrator, had lied about having cancer
(Leukemia).

ll. After finding out the truth Plaintiff called the local authorities including the media
to expose the truth about this scam that he was pulled into by the perpetrator including

being the main witness and working with the FBI to bring the perpetrator to justice.

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12. In an apparent desperate attempt to bolster its rapidly plunging ratings and
reputation, Defendant CBS News and Conybeare, ran a defamatory (exclusive) TV article
regarding the Plaintiff on April 2, 2017, which, with the intent to cause or recklessly
cause the Plaintiff to suffer severe emotional distress, falsely, maliciously and/or with
reckless disregard for the truth stated as a fact that the Plaintiff “suddenly moved to
Florida because of suspicion within the community” and that this “doctor in question who
was contacted by the FBI, interviewed by the FBI, and is associated with Memorial Sloan
Kettering Cancer Center, is not a doctor at Memorial Sloan Kettering Cancer Center.
Defendant given an exclusive and in a rush to publish this television reporting falsely,
maliciously and with reckless disregard for the truth, with the intent to defame Plaintiff
reported that Defendant “contacted Memorial Sloan Kettering Cancer Center and that
Memorial Sloan Kettering Cancer Center claimed that there is no such doctor associated
with Memorial Sloan Kettering Cancer Center” and Defendant falsely, maliciously and
with reckless disregard for the truth even went the extra mile to claim that there is no
such doctor registered in New York State.

13. In fact, plaintiff provided this factual information to local and federal authorities
and federal authorities contacted Memorial Sloan Kettering Cancer Center, who
confirmed that there is such doctor with Memorial Sloan Kettering Cancer Center.
Federal authorities met with this doctor at Memorial Sloan Kettering Cancer Center and
interviewed her. Accompanied is EXHIBIT A - lndictrnent copy from the federal

authorities which clearly shows that agents from the United States Federal Bauru of

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Investigation (see, Page 7, subparagraph 13) contacted Memorial Sloan Kettering Cancer

Center, met with this doctor and interviewed her.

14. This CBS News report is available on-line, published by the Defendant(s) at :
hgp://negork.cbslocal.com/Z0l7/04/02/westchester-cancer-scam-allegations/ (Last
Viewed March 23“, 2018), attached hereto as Plaintiff's Exhibit B.

15. Defendants knew, or should have known, the falsity of such statements before
they were published in CBS TV News for the world to see.

16. Evidenced by the Sealed Complained filed by Assistant United States Attomey
Vladislav Vainberg, before The Honorable Lisa Margaret Smith, United States District
Judge for the Southem District of New York on or about the 10"' day of August, 2017,
which has been publicly available to the Defendants since that date, and available at
h§_tps://www.justice.gov/usao-sdny/press-release/lile/989l66/download (Last Viewed
March 23"‘, 2018), attached hereto as PlaintiH’s Exhibit A. The Defendants know or
should know that the statements about the Plaintiff are false, slanderous, and defamatory
per se as they have caused Plaintiff to suffer severe personal harm to his reputation as
well as financial loss in his business dealings. Plaintiffs multiple written requests to have
a retraction done by the Defendants, the Defendants have ignored all requests and refused
to retract there knowingly false statements, which continues to cause Plaintiff to suffer
severe personal harm to his reputation as well as financial losses in his business dealings.

17. On or about April 2, 2017, Defendants CBS News and Conybeare published a

false, malicious and with reckless disregard for the truth a defamatory 'I'V report,

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purposely and to give a public false information and impression about Plaintiff, posted
Plaintiffs picture with the perpetrator to miss lead the public and defame him.

18. In fact, Defendant requested Plaintiff to send Defendant pictures of him and
perpetrator together to which Plaintiff specifically told Defendant not to post his pictures
with the perpetrator for the simple fact that Plaintiff wanted to distance himself from the
perpetrator. Defendant maliciously and in a rush to put out this EXCLUSIVE TV
interview, went out of his way to find pictures on his own of Plaintiff and perpetrator 7
despite repeated demands to Defendant not to do so. These false and scurrilous pictures
constituted defamation and libel per se committed against the Plaintiff.

19. Defendant CBS News and Conybeare knew, or should have known, that these
picture(s) of Plaintiff with perpetrator would portray a very different picture about
Plaintiff in the public’s eye all over the world and still went ahead and published it.

20. On or about April 2, 2017, Defendant CBS News and Conybeare published a false
and defamatory TV report, with pictures of Plaintiff with the perpetrator and falsely
stated that , "Defendant contacted Memorial Sloan Kettering Cancer Center regarding
this doctor in question and that Memorial Sloan Kettering Cancer Center confirmed that
there was no such doctor associated with Memorial Sloan Kettering Cancer Center and
went the extra mile to report that there is no such doctor registered in the State of New
York.

21. ln fact, the existence of this doctor is a fact and has been verified by the United
States Federal Bureau of lnvestigation, who were given the same information as to

Defendants. Agents from the United States Federal Bureau of Investigation (FBI),

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contacted Memorial Sloan Kettering Cancer Center, verified that this doctor is associated
with Memorial Sloan Kettering Cancer Center, met with the doctor at Memorial Sloan
Kettering Cancer Center and interviewed the doctor. Accompanied as EXHIBIT A is the
indictment from the federal authorities in this matter (see, Page 7, subparagraph 13)
which clearly states that the agents ii'om the FBI met and interviewed this doctor at
Memorial Sloan Kettering Cancer Center. "This and these absolutely false and scurrilous
statement(s) constituted defamation and libel per se committed against the Plaintiff by
Defendants.

22. Defendant CBS News and Conybeare knew, or should have known, that this
statement was false before it was published in an EXCLUSIVE TV interview.

23. On or about April 2, 2017, Defendant CBS News and Conybeare published a false
and defamatory TV EXCLUSIVE Interview, with pictures of Plaintiff with perpetrator
and stated that Plaintiff, "suddenly moved to Florida because of suspicion within the
community. In fact, Plaintiff was asked this question by the local and federal authorities
including Defendants and Plaintiff told the authorities and Defendant that the reason‘
Plaintiff moved to Florida was not because of any suspicion within the community but
rather that the perpetrator stated that she was given 18 months to live and New York was
too cold for her and we had to move to Florida. This statement of Plaintiff was given to
authorities in a sworn statement under oath and to the Plaintiff in an hour long recorded
exclusive interview. Despite knowing the facts Defendant falsely, on purpose,

maliciously and with reckless disregard for the truth published false, defamatory and

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misleading information in their TV reporting. "This false and scurrilous statement
constituted defamation and libel per se committed against the Plaintiff.

24. Defendant CBS News and Conybeare knew, or should have known, that this
statement was false before it was published.

25. Defendants either published, or caused to be published, defamatory statements
about the Plaintiff. Defendant(s), jointly and severally, had a duty to reasonably
investigate to assure that the statements being published by them were true and accurate.

26. Defendant’s failed to exercise reasonable care in their investigation of the facts at
issue, causing Plaintiff to suffer severe damages as a direct and proximate cause of their
actions, inactions, fault or negligence

27. Moreover, the Federal Bureau of Investigation conducted their investigation and
went out of their way to reach Dr. Rekha Parameswaran, M.D., and continued that Dr.
Parameswaran was in fact a duly licensed medical doctor employed at the Memorial
Sloan Kettering Cancer Center before August 10, 2017.

28. Accompanied please see EXHIBIT A, which is the indictment report from the
FBI (see, Page 7, subparagraph 13) that agents from the FBI met with this doctor and
interviewed her. On the other hand, the defendants in an EXCLUSIVE TV report state
that Defendants contacted Memorial Sloan Kettering Cancer Center and thatl Memorial
Sloan Kettering Cancer Center continued that there is no such doctor associated with
Memorial Sloan Kettering Cancer Center and Defendants even went the extra mile to

claim that there is no such doctor registered in the State of New York.

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29. Specitically, these defamatory statements included a false assertion that Plaintiff
"is a scam, and SUDDENLY moved to Florida because of suspicion.”

30. These defamatory statements also included a false assertion that Plaintiff provided
false information to local and federal authorities including Defendant. Defendant was
provided the same information which was provided to local and federal authorities under
oath. Defendant was given an hour long exclusive interview via skype with the same
information that was provided to authorities, which Defendants verified. Defendants
falsely, on purpose, maliciously and with reckless disregard for the truth had already
deemed Plaintiff guilty by association and printed, spoke false information regarding
Plaintiff to defame him, including reporting the same on the television, which they
published on the intemet as well.

31. These defamatory statements were untrue and defamatory in that they falsely
reported the Plaintiffs character and actions, and Defendants knew, or should have
known, that such statements were false,

32. Defendants published these false and defamatory statements with malice.

33. Defendants published these false and defamatory statements with knowledge of
their falsity and/or with a reckless disregard for the truth or falsity of these statements

34. These statements constitute defamation and/or libel per se because they falsely
portray the Plaintiff as a man who is a dishonest man and seams people for money.

35. These statements constitute defamation and/or libel per se because they falsely
impugn the Plaintiffs honesty, trustworthiness, dependability, and professional fitness and

abilities by falsely charging him with engaging in criminal conduct and/or other conduct

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that would tend to injure the Plaintiff in his trade or business, namely as a services
company.

36. These false and defamatory statements have caused the Plaintiff embarrassment,
humiliation and emotional injury.

37. Defendants are liable to the Plaintiff for defamation

38. Defendants knew, or should have known, of the falsity of such statements made in
the CBS News TV article on April 2, 2017.

39. Upon information and belief, Defendants have made, and continue to make, this
and similarly false and defamatory statements about the Plaintiff to third parties.

40. As a result of said defamation, the Plaintiff continues to suffer from humiliation,
loss of standing in the community, loss of self-esteem, public disgrace and severe and
extreme emotional distress.

41. The defamatory acts committed against the Plaintiff by Defendants were
intentional, willful, wanton, malicious and oppressive and were motivated, in part, by a
desire to get an EXCLUSIVE STORY without regard for the truth or the Plaintiffs well-
being and were based on a lack of concern and ill-will towards the Plaintiff and/or a
deliberate or reckless disregard for his rights, for which the Plaintiff is entitled to an
award of punitive damages.

42. The Plaintiff has suffered harm as a result of the defamatory statements including,
but not limited to, reputational harm, emotional distress and mental anguish and the

statements were defamatory per se.

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43. As a result of Defendants' conduct, the Plaintiff is entitled to monetary and
punitive damages, due to the damages that he sustained as a direct and proximate cause of
the actions, inaction, fault and negligence of the Defendants complained of herein.

44. Defendants engaged in conduct toward Plaintiff that is extreme and outrageous so
as to exceed the bounds of decency in a civilized society.

45. Among other conduct, Defendants‘ repeated false, scurrilous and defamatory
statements published in the CBS News TV report on April 2, 2017 that the Plaintiff
"suddenly moved to Florida because of some suspicion within the community," "posted
pictures of Plaintiff with perpetrator," "provided absolutely false information regarding
this doctor in question who the federal authorities met and interviewed", when
Defendants knew, or should have known about the falsity of those statements, constitutes
extreme and outrageous conduct that exceeds the bounds of decency in a civilized
society.

46. By their actions and conduct, Defendants intended to and did intentionally or
recklessly cause the Plaintiff to suffer severe emotional distress,

47. As a direct and proximate result of Defendants‘ conduct, Plaintiff has suffered,
and continues to suffer, severe emotional distress, for which he is entitled to an award of
damages.

48. Defendants‘ extreme and outrageous conduct was knowing, malicious, willful and
wanton, entitling the Plaintiff to an award of punitive damages.

49. All of the Quotations of Defendant herein are as close to what was actually said as

Plaintiff can recollect, however, as previously stated hereinabove, the false and

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defamatory assertions made by the Defendant(s) is available at:
hgp://nework.cbslocal.com/20l7/04/02/westchester-cancer-scam~allegations/ (Last
viewed on March 23"’, 2018).
V. LEGAL CLAIMS
Plaintiff hereby incorporates the foregoing paragraphs l through 49, as if fully set
forth herein.

50. CBS News and Conybeare, both jointly and severally, had a duty as reporter(s) to
exercise reasonable care to assure that the information that they publish in stories is true
and accurate.

51. CBS New and Brian Conybeare, both jointly and severally, had a duty as
reporter(s) to exercise reasonable care, both ethically and legally, to conduct an adequate
investigation to assure that the information they report and/or publish is accurate.

52. Neither CBS New, it’s agents, officers, or employees, conducted any interview
whatsoever with regards to Dr. Rekha Parameswaran, M.D., though in the afore-cited 'I'V
news article published by CBS New and Conybeare, claim they in fact did.

53. In fact, the existence of this doctor is a fact and has been verified by the United
States Federal Bureau of Investigation, who were given the same information as to
Defendants. Agents from The United States Federal Bureau of Investigation (FBI),
contacted Memorial Sloan Kettering Cancer Center, verified that this doctor is associated
with Memorial Sloan Kettering Cancer Center, met with the doctor at Memorial Sloan
Kettering Cancer Center and interviewed the doctor. Accompanied as EXHIBIT A is the

indictment nom the federal authorities in this matter (see, Page 7, subparagraph 13)

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which clearly states that the agents from the FBI met and interviewed this doctor at
Memorial Sloan Kettering Cancer Center.

54. CBS News and Conybeare reported in the afore-cited published TV news story
that Plaintiff moved to Florida when suspicion arrive within the community, which is
absolutely false. In fact, Plaintiff was asked this question by the authorities including
Defendants and Plaintiff told the authorities and Defendant that the reason Plaintiff
moved to Florida was not because of any suspicion within the community but rather that
the perpetrator was given 18 months to live and New York was too cold for her and we
had to move to Florida.

55. 'I'his statement of Plaintiff was given to authorities in a sworn statement under
oath and to the Plaintiff in an hour long exclusive interview. Despite knowing the facts
Defendant falsely, on purpose, maliciously and with reckless disregard for the truth
published false, defamatory and misleading information in their TV reporting.

56. CBS News and Conybeare reported in the afore-cited published TV news story
containing photographs of the Plaintiff with the Perpetrator of the cancer scam when the
Defendants agreed that they would not Publish photos of the Plaintiff with the
Perpetrator. ln fact, Defendant requested Plaintiff to send Defendant pictures of him and
perpetrator together to which Plaintiff specifically told Defendant not to post his pictures
with the perpetrator for the simple fact that Plaintiff wanted to distance himself from the
perpetrator. Defendant maliciously and in a rush to put out this EXCLUSIVE TV
interview, went out of his way to find pictures on his own of Plaintiff and perpetrator

despite repeated demands to Defendant not to do so.

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57. CBS News and Conybeare reported in the afore-cited published TV news story
that Plaintiff engaged in criminal activity; and acted in a way unbecoming of Plaintist
profession.

58. As a direct and proximate cause of the Defendant(s) negligence, both joinly and
severally, also imputed pursuant the doctrine of respondeat superior, falsely reporting
and publishing the foregoing defamatory new article, on television, on the intemet, and in
print, the Defendant has sustained damages in this profession, business, and personal life.

59. As a direct and proximate cause of the Defendant(s) negligence, both jointly and
severally, also imputed pursuant the doctrine of respondeat superior, falsely reporting
and publishing the foregoing defamatory TV news article, on television, on the intemet,
and in print, the Defendant.

VI. PRAYER FOR RELIEF
WHEREFORE, Plaintiff Prays that the Court enter judgment in his favor and
against Defendants, containing the following relief, jointly and severally against each
defendant:

A. A declaratory judgment that the actions, conduct and practices of Defendants

complained of herein were defamatory and intentionally or recklessly cause the Plaintiff
v to suffer severe emotional distress;

B. An injunction and order permanently restraining Defendants from engaging in

such unlawful conduct; and ordering the Defendant’s to publish a retraction of the

defamatory article complained of herein;

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C. An award of damages in an amount to be determined at trial, plus prejudgment
interest, to compensate the Plaintiff for all monetary and/or economic harm;

D. An award of $15 million dollars in presumed damages (or an amount to be
determined at trial), plus Prejudgment interest, to compensate the Plaintiff for the
malicious, defamatory conducts by the Defendants resulting in the Plaintiff’s on-
going distress from humiliation, shame, and mortification; including but not limited
to financial damages in Plaintiff’s professional and personal reputations, causing the
loss of opportunities in raising multimillion investments, and detrimental losses in
expected sales of his company.

E. An award of damages for any and all other monetary and/or non-monetary losses
suffered by the Plaintiff in an amount to be determined at trial, plus prejudgment interest;

F. An award of punitive damages of $5 million dollars;

G. An award of costs that the Plaintiff has incurred in this action;

H. An award of Plaintiffs reasonable anomeys' fees to the fullest extent permitted
by law; and,

l. Such other and hirther relief as the Court may deem just and proper.

Dated: March 30, 2018
Respectfully Submitted,
NTKHLESH PAREKH
ls/ Nikhlesh Parekh
NlKHLESl-l PAREKH, Pro Se
4683 Summeroak Street, Suite 2105

Orlando, Florida 23835
(914) 305-0338

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samosanyc@gmail.com

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